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CHASE

November 2, 2017

Forrest Capital Partners, Inc
401 E Las Olas Blvd Suite 130
Ft Lauderdale Florida 33301

RE: Weathervane Productions — Petri Entertainment, LLC.

Mr. VanEman and Mr. Davis

Per your request, this letter is to confirm receipt of your instructions for opening your special purpose
holding account. We have received the necessary corporate documents needed to open the holding
account for your new project. We stand ready to open the project master account once the holding
account has been funded. The appropriate funding account for the contribution is the following:

FCP Master Holding Account — Account Number: 916931665.

The authorized signatories of this project account have represented the account is to be opened and
managed in accordance with the Funding Agreement dated as of November 1, 2017 among said parties
to the project known as “Tender” and we confirm the same. To be clear, you have requested a new
account to be opened in the name of project master account for Petri Entertainment, LLC., utilizing its
state filed corporate documents as well as its Federal EIN numbers you have provided.

Once this project master account is created with all signers being properly verified, | will forward you all
appropriate information and documentation for your record. This project account which you intend to
use as a project specific funding account, for your matched funds model will be able to receive the funds
that you are allocating for the creation of a CHASE Bank credit line ultimately to fund a movie project
known as “Tender”, as well as return to Petri Entertainment LLC. the matched funds (One Million Seven
Hundred Thousand, $1,700,000) Petri Entertainment, LLC will deposit via wire to Chase. We also
confirm, Forrest Capital Partner’s accounts are in good standing and the allocated funds in such
accounts amounts to over USS$3,400,000 and are free of any restrictions or holds.

In accordance with the provisions and intent of the aforesaid Funding Agreement dated as of November
1, 2017, which we have received and understand, CHASE Bank will be opening an additional account and
issuing a line of credit in the amount of US$3,400,000 in the name of WeatherVane Productions, Inc. /
Petri Entertainment, LLC. to be used in accordance with the aforesaid Funding Agreement dated as of
November 1, 2017.
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Thank you once again for doing business with CHASE Bank and | look forward to working with you and
managing your new project match account.

Highest Regards,

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—>~H —
JOHN TORRES
Vice President
Private Client Banker
(818) 746-4330

